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Research paper

‘Surﬁng the Silk Road’: A study of users’ experiences
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a r t i c l e            i n f o                             a b s t r a c t

Article history:                                            Introduction: The online drug marketplace called ‘Silk Road’ has operated anonymously on the ‘Deep Web’
Received 12 April 2013                                      since 2011. It is accessible through computer encrypting software (Tor) and is supported by online trans-
Received in revised form 24 July 2013                       actions using peer to peer anonymous and untraceable crypto-currency (Bit Coins). The study aimed to
Accepted 30 August 2013
                                                            describe user motives and realities of accessing, navigating and purchasing on the ‘Silk Road’ marketplace.
                                                            Methods: Systematic online observations, monitoring of discussion threads on the site during four months
Keywords:
                                                            of ﬁeldwork and analysis of anonymous online interviews (n = 20) with a convenience sample of adult
Silk Road
                                                            ‘Silk Road’ users was conducted.
Internet
Displacement patterns
                                                            Results: The majority of participants were male, in professional employment or in tertiary education. Drug
Closed drug markets                                         trajectories ranged from 18 months to 25 years, with favourite drugs including MDMA, 2C-B, mephedrone,
                                                            nitrous oxide, ketamine, cannabis and cocaine. Few reported prior experience of online drug sourcing.
                                                            Reasons for utilizing ‘Silk Road’ included curiosity, concerns for street drug quality and personal safety,
                                                            variety of products, anonymous transactioning, and ease of product delivery. Vendor selection appeared
                                                            to be based on trust, speed of transaction, stealth modes and quality of product. Forums on the site
                                                            provided user advice, trip reports, product and transaction reviews. Some users reported solitary drug
                                                            use for psychonautic and introspective purposes. A minority reported customs seizures, and in general
                                                            a displacement away from traditional drug sourcing (street and closed markets) was described. Several
                                                            reported intentions to commence vending on the site.
                                                            Conclusion: The study provides an insight into ‘Silk Road’ purchasing motives and processes, the interplay
                                                            between traditional and ‘Silk Road’ drug markets, the ‘Silk Road’ online community and its communication
                                                            networks.
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Introduction                                                                                online drug marketplace called ‘Silk Road’ operating anonymously
                                                                                            on the ‘Deep Web’ since February 2011 (Chen, 2011; Norrie &
    The proliferation of web-based retailing of drugs within con-                           Moses, 2011). The ‘Deep Web’ is accessible through Tor anonymis-
temporary cyber drug markets is of increasing public health and                             ing software which encrypts computer IP addresses (Tor Project,
law enforcement concern (Corazza et al., 2011; Corazza et al., 2012;                        2011). This software supports online transactions using a non-
Solberg, 2012; Davies, 2012; Forsyth, 2012). Cyber drug commu-                              government-controlled peer to peer anonymous crypto-currency
nities are increasingly innovative in their capacities to retail and                        called ‘Bit Coins’ which is indexed to the US dollar to prevent exces-
market drugs, provide information for users regarding drug sourc-                           sive inﬂation or deﬂation (Bitcoin, 2011; Davis, 2011; Christin,
ing mechanisms, advice around optimal use, and host discussions                             2012). Technical barriers involved in learning how to use Tor
around popular choices, experiences and harm reduction prac-                                software and transact with ‘Bit Coins’ heighten its appeal to con-
tices (Wax, 2002; Gordon, Forman, & Siatkowski, 2006; Grifﬁths,                             sumers and complicates law enforcement tactics. ‘Silk Road’ has
Sedefov, Gallegos & Lopez, 2010; Davey, Schifano, Corazza & Deluca,                         been described as ‘a certiﬁable one-stop shop for illegal drugs that
2012). Widespread drug product availability is fuelled by novel                             represents the most brazen attempt to peddle drugs online that we
drug trading sites such as ‘Black Market Reloaded’, ‘The Armory’                            have ever seen.’ (Schumer, 2011). At the time of writing in late
and the ‘General Store’ (Christin, 2012), with the most well known                          2012, close to 200,000 registrations and 199,538 forum posts were
                                                                                            recorded on ‘Silk Road’ forum statistics (Silk Road Forums, 2012).
                                                                                            The site has over 24,400 drug related products for sale which
                                                                                            includes cannabis, ecstasy, psychedelics, opioids, stimulants, ben-
    ∗ Corresponding author. Tel.: +353 51 302166.
                                                                                            zodiazepines and dissociatives (Christin, 2012; Barratt, 2012).
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(T. Bingham).
                                                                                               Christin (2012) has reported total ‘Silk Road’ vendor rev-
  1
     Tel.: +353 86 389 3530.                                                                enue as approximately 1.9 million US dollars per month. Vendor

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authenticity and opportunity to operate their services on ‘Silk Road’               discussion threads, and invitation to partake in anonymous online
are controlled by the site through the purchasing of new ven-                       interviewing. Message board recruitment of ‘Silk Road’ site mem-
dor accounts through auctions to the highest bidders. ‘Silk Road’                   bers was utilized. Requests to partake in the research were posted
operates similarly to ‘Ebay’ in terms of its professional dispute res-              by the research team, along with information around the research
olution mechanism, use of vendor and buyer ratings to assist in                     objectives, informed text based consent, guidelines for acceptable
transaction decision-making, buyer feedback on quality of prod-                     behaviour in the discussion threads, and online referral options,
ucts, transactions and speed of dispatch, and hosting of member                     should participants experience difﬁculties relating to their sub-
discussion forums (Barratt, 2012). Vendor and buyers are man-                       stance use.
dated by the site to use the ‘Escrow’ system, which facilitates the                     The sample was restricted to adult participants (over 18 years).
accurate calculation of commission fees, and assists in dispute res-                Participants were advised that their participation in answering
olution between vendors and buyers (Christin, 2012). Transaction                    threads or partaking in the online interview was voluntary at all
anonymity is facilitated by ‘tumbler’ services of dummy and single                  times. Participants were not identiﬁable by either their personal or
use intermediaries between buyers and vendors (Christin, 2012).                     ‘Silk Road’ screen name, and anonymous communication occurred
However, although the ‘Escrow’ system appears effective in polic-                   between the researchers and participants via the site forums and its
ing the site, vendor reliability and its transactions, transactions can             private messaging system. They were requested not to mention any
also occur out of ‘Escrow’ (i.e. directly between a vendor and buyer)               potential identiﬁers, and advised that these would be omitted from
with little recourse for dissatisﬁed consumers. Of interest is the                  the ﬁnal integrated data analysis. Participants willing to complete
dynamic and closed nature of the site. Christin (2012) has reported                 the online interview via the private messaging system were pro-
that a majority of vendors visible on the site disappear within three               vided with open-ended questions, and advised to complete these
months of market entry, with most items available for less than                     at a convenient time and when not under the inﬂuence of mind
three weeks. Vendors can choose to switch operation to ‘stealth’                    altering substances.
mode whereby they connect with their established customer base                          Data collection occurred in three ways. Systematic online obser-
by invitation (i.e. ‘stealth’ and ‘custom listings’) and via out of band            vations of the site involved monitoring the site and forums, using
private messaging. ‘Whitewashing attacks’ similar to the familiar                   screen shots, and postings relating to the discussion thread. Sec-
‘goodbye suckers’ response from street drug dealers who decide to                   ondly, discussion threads were uploaded in the form of ‘taster
retire or move on, and ‘rip off’ their customers when dealing their                 questions’ so as to interact with members, and stimulate participant
ﬁnal batch have been observed on the site, where a vendor cre-                      interest and resultant discourse. The research team interacted with
ates an excellent reputation and subsequently exits, leaving a large                participants in order to answer any queries and for uploading of
number of paid but un-dispatched orders (Feldman, Papadimitriou,                    follow up threads. Text arising from postings and screen shots was
Chuang & Stoica, 2006). Shipments of products are reportedly dis-                   included in the analysis. Thirdly, the data logged from the anony-
guised by use of vacuum sealed ‘professional looking’ packages, and                 mous online interviews via the private messaging system formed
use of false names and postal addresses (Christin, 2012; Van Hout                   the ﬁnal integrated data set. The data was stored on the researchers’
& Bingham, 2013).                                                                   computers with double password protection.
    At the present time, research on ‘Silk Road’ is limited to investiga-               The anonymous online interview questions were developed in
tive site monitoring work by Barratt and Christin (resp) and a single               consultation with extant literature, researcher experiences of nav-
case study (Van Hout & Bingham, 2013). User experiences and the                     igating the site itself and a unique single case study conducted
realities of ‘Silk Road’ as contemporary virtual drug marketplace                   with a ‘Silk Road’ member (author cite). Topics were concerned
remain an under researched topic. This research builds on these ear-                with participant demographics, drug repertoires, settings and pat-
lier studies and presents ﬁndings from the ﬁrst successful attempt                  terns of drugs used, motives for web sourcing of drugs, popular
to access the site and interact with its members. The study aims to                 sites for drug related information and communication with other
describe the motives, perspectives and purchasing experiences of                    cyber users, ‘Silk Road’ user appeal, Tor software sourcing, Bit Coin
‘Silk Road’ users using a virtual ethno-pharmacological approach                    purchasing, navigation of the site and its forums, interaction within
to discover how the ‘Silk Road’ marketplace operates, consumer                      the ‘Silk Road’ community, consumer informed decision making and
appeal, processes and experiences within the ‘Silk Road’ commu-                     purchasing experiences, risk management and future intentions to
nity, and presence of potential displacement patterns between web                   use the site.
and street drug markets.                                                                Analysis was conducted on the ﬁnal anonymised integrated
                                                                                    data set of online observations, discussion threads, postings and
                                                                                    interviews. In total, 168 screenshots, 4 threads, 1249 posts and 20
Methods                                                                             completed interviews were transposed, transcribed and managed
                                                                                    using the software program QSR NVivo 8.0 (Qualitative Solutions
    Ethical approval for the project was granted at Waterford Insti-                & Research, 2008). This integrated data set was analysed using a
tute of Technology, Ireland. The study involved online observation,                 narrative-based analytical method which grouped the data into
discussions with members and online interviews with a conve-                        macro groupings, subsequent themes and appropriate categories.
nience sample of participants agreeing to complete a series of                      The identiﬁed groups, paragraphs and sentences were then broken
open ended questions via a private messaging system supported                       down into several codes of key incidents, concepts and relation-
by ‘Silk Road’. This approach was chosen in order to facilitate par-                ships (Elliott, 2006; Riessman, 2008).
ticipant ‘talk back’ at their convenience, and with full anonymity
(Bakardjieva & Feenberg, 2001). Fieldwork for the study lasted four
months. Prior to commencement of data collection, the research                      Results
team practised use of Tor, Bit Coin and private messaging on ‘Silk
Road’ in order to achieve a certain level of competence.                               Participants were predominantly male (three females) and in
    Following best practice protocols for online research (Barratt &                professional employment or tertiary education. Observational data
Lenton, 2010; Mendelson, 2007; Murguía & Tackett-Gibson, 2007;                      supported the high uptake of professionals on ‘Silk Road’. Partic-
Sixsmith, Boneham & Goldring, 2003), the research team requested                    ipant drug trajectories ranged from 18 months to 25 years, with
permission from the website administrator to undertake the ﬁeld-                    popular drugs including; cannabis, mephedrone, codeine, cocaine,
work in the form of systematic observation of the site, the posting of              nitrous oxide, MDMA, 2C-B, ketamine, heroin, LSD, amphetamine,
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NBOME, methylone, benzodiazepines, methamphetamine, mor-                               purchasing products on the site was time consuming and rela-
phine, PCP, 2C-I, and psilocybin. Patterns of drug use were described                  tively difﬁcult. Observational site data recorded that members have
as typically recreational and conﬁned to weekend consumption.                          technical knowledge around internet security.
Several participants described themselves as ‘psychonauts’ 1 . Few
reported daily drug use.                                                                   ‘I obtain Bit Coins. I won’t go into the exact process for safety’s
                                                                                           sake, but basically I go into a bank with cash, ﬁll out a slip, show
Online drug sourcing: a light bulb moment?                                                 absolutely no identifying information, and by the end of the day,
                                                                                           I have Bit Coins in my Silk Road account. I then go to the vendor
    The majority of participants reported commencing internet drug
                                                                                           page, add the drug to my shopping cart, and input my encrypted
sourcing and purchasing on ‘Silk Road’, with little prior experience
                                                                                           address. Then I conﬁrm the order and I wait. We also use an
of cyber drug retailing prior to 2011. Participants reported ﬁnding
                                                                                           Escrow system so that vendors can’t scam you. So the Bit Coins
out about the site ‘per chance’ when ‘googling’, on national TV pro-
                                                                                           aren’t directly delivered to them until I ﬁnalize my order, which
grammes, on ‘Craigslist’ and in the ‘Gawker’ article (Chen, 2011).
                                                                                           I only do once the package arrives. Some vendors require early
Several drug sites were described as popular resources for ‘Silk
                                                                                           ﬁnalization, but I try not to deal with them’. (Participant 9, Male
Road’ members and included ‘Erowid’, ‘Bluelight’ ‘Shroomery’, Pill-
                                                                                           aged 20–25 years).
reports, Pharmacy Reviewer, Gwern and ‘OVDBer’. These sites along
with the ‘Silk Road’ forums were observed as useful (despite some
comments that product reviews were dated) in providing informa-                           Some participants were not willing to disclose information
tive ‘trip reports’ and assisting individuals with questions around                    around their purchasing habits on ‘Silk Road’. Others had not pur-
optimum dosage, lab testing and harm reduction practicalities.                         chased yet, and were accessing the site forums for information on
                                                                                       products. The remainder with purchase history described a con-
      ‘I advocate for harm reduction and the freedom of information                    sumer decision making process which involved informed decision
      for individuals to use substances safely. Websites provide essen-                making centred on pricing, the reviewing of ‘trip reports’, and prod-
      tial information which allows me to make rational decisions                      uct detail on ‘Wikipedia’, ‘Erowid’, ‘Pubmed’, ‘Google Scholar’, vendor
      about using illegal substances safely’. (Participant 2, Male aged                and buyer reputations, benchmarking of 98%+ positive vendor feed-
      20–25 years).                                                                    back, the privacy of ‘stealth modes’, consultative activity on ‘Silk
                                                                                       Road forums’ and positive product experiences. Many purchasers
   Participant reasons for accessing and using ‘Silk Road’ appeared                    described sourcing drugs not readily available (especially LSD, high
centred on the site’s anonymity, its member forums, the wide vari-                     grade methamphetamine and cocaine) and that using ‘Silk Road’
ety of products advertised, its transaction system supported by                        broadened their drug consumptive horizons. Buyer loyalty to cer-
dispute resolution modes and vendor feedback ratings. Comments                         tain vendors appeared based on experience of several successful
were made around user concerns for poor drug quality in their                          transactions, with receipt of quality products. Observational site
locality and fears for personal safety when buying drugs on the                        data revealed member comments on higher prices for certain drug
street. Ease of product delivery in the post was described. Observa-                   products, in comparison with local street averages in their locality.
tional site data revealed member comments around the avoidance
of adverse health and social consequences associated with street                           ‘The feedback system is revolutionary for a market like this. All
drug sourcing when purchasing drugs on ‘Silk Road’. Few partici-                           my fears about quality are gone. I know what I’m getting and I
pants accessed ‘Silk Road’ due to difﬁculties in securing prescribed                       know that it’s good. The Silk Road is a paradise for responsible
anti anxiety or sexual enhancement medication from their doctors.                          drug dealers. You have to be patient and you have to be smart to
                                                                                           get there and use it. Bit Coin isn’t easy to get and use. You have
                                                                                           to learn the ropes. But it’s totally worth it. It’s changed my life
      ‘The “why” is really simple. Prior to using this site, basically
                                                                                           signiﬁcantly’. (Participant 14, Male aged 26–30 years).
      every drug I got was a toss up, especially MDMA. Someone men-
      tioned this thing called the Silk Road. It didn’t sound real. A
                                                                                           The majority reported that using the ‘Escrow’ system appeared
      couple months later I decided to see if it actually existed. I found
                                                                                       to protect them against scamming. A few reported products which
      it. Took a lot of courage to make that ﬁrst purchase, but when
                                                                                       did not arrive or were intercepted by customs and excise, and
      the mail arrived at my house, I never looked back. Here, drugs
                                                                                       experiences of poor quality products. Favourable comparisons were
      are way cheaper and way better. I can’t go wrong’. (Participant
                                                                                       made with online pharmacies dispatching fake and contaminated
      6, Male aged 20–25 years).
                                                                                       products. Some described purchasing small ‘taster’ amounts of cho-
      ‘I ﬁrst signed up on Silk Road back in 2011, and didn’t order
                                                                                       sen products when the vendor was unknown to them.
      anything until May 2012. I now use it because the quality of
                                                                                           Those with purchasing experience commented on the perceived
      drugs is so much better. Silk Road provides lab tested substances
                                                                                       levels of insular trust within the ‘Silk Road’ member communi-
      in which I know the quality. . ..I can make a rational decision on
                                                                                       ties, which assisted them in consumer decision-making and openly
      what quantity to use to best minimise harm. You know what
                                                                                       contrasted with the unknowns associated with street drug deal-
      you’re getting and you can see feedback and honest advice from
                                                                                       ing. Participants commented that ‘Silk Road’ had for the most part
      other buyers of the product. I’ll never use a street dealer again.
                                                                                       replaced their local street dealer. A few used street and closed mar-
      I also feel Silk Road is a lot safer than buying from the street in
                                                                                       ket (friends and peer networks) sourcing when waiting for ‘Silk
      many ways’. (Participant 13, Male aged 20–25 years).
                                                                                       Road’ products to arrive.

Silk Road: an online candy store?
                                                                                           ‘I only use Silk Road. This type of market signiﬁcantly lowers
    Several participants observed that the process of accessing the                        the chances of a scam or buying contaminated products. Like
site via the Tor browser, arranging credit with ‘Bit Coins’ and                            Amazon or eBay, I have a market of sellers to choose from and
                                                                                           product reviews to satisfy my own requirements before I pur-
                                                                                           chase. A street market in comparison is based on a “take it or
  1                                                                                        leave it” approach which gives no rights to a buyer. This form
    A person who intelligently experiments with mind-altering chemicals, some-
times to the extent of taking exact measurements and keeping records of                    of regulation ensures safety and harm reduction for the buyer’.
experiences.                                                                               (Participant 19, Male aged 26–30 years).
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Cyber drug consumerism                                                                 ‘We are a community, and Dread Pirate Roberts is our presi-
                                                                                       dent in a sense. We’re all here to help each other and make our
    All participants described themselves as ‘drug connoisseurs’ in                    experience as easy-going as possible’. (Participant 3, Male aged
terms of the level of their acquired scientiﬁc research and expe-                      26–30 years).
riential drug product knowledge. A general cautiousness toward
untested ‘novel psychoactive substances’ was evident and appeared                      No participants reported engaging with forum members in real
to restrict their drug purchasing to common drugs such as cannabis,                life.
MDMA, cocaine, LSD, ketamine and heroin which were observed to
be safer.                                                                              ‘Not in real life, but I enjoy talking to them in Private Messages
                                                                                       and on the forums. I like that aspect as much if not more than the
   ‘Many unscheduled drugs are being scheduled without inquiry,                        actual service Silk Road provides’. (Participant 7, Female aged
   which may be unfortunate. Illegal drugs may be safer, but their                     31–35 years).
   unavailability encourages the proliferation of potentially unsafe
   analogues and alternatives’. (Participant 20, Male aged 31–35                   Drug use outcomes and settings
   years).
                                                                                      The majority of participants described very positive experiences
    For those purchasing ‘novel psychoactive substances’, product                  with products purchased on the site, with comments made around
packaging was described as ‘research chemicals’, with traditional                  product quality and speedy delivery. Generally, the use of ‘Silk Road’
street type drugs arriving in disguised packaging. Some comments                   was kept secret and with users conﬁning their consumption to
were made that the time investment and concerted effort on the                     inner circle friendships. This appeared largely due to fears of law
part of the user in having to install Tor, purchase ‘Bit Coins’ and use            enforcement investigation. Observational site data revealed that
false postal addresses was recognized as potential deterrence for                  members strive to protect their anonymity for fear of prosecution.
impulsive purchasing and excessive drug use.                                       This appears indicative of the high number of recreational users
                                                                                   accessing the site.
   ‘I don’t think it promotes new users because no one is taking
   the time and computer-knowledge to come to the ‘Silk Road’                          ‘Using drugs is kind of supposed to be a social thing in my opin-
   if they’ve never used drugs before’. (Participant 1, Female aged                    ion. I want to experience that love and joy and happiness with
   26–30 years).                                                                       my friends. It’s a great feeling’. (Participant 5, Male aged 20–25
                                                                                       years).
   Varied comments were made around the security mechanisms
in place, with some participants concerned for user anonymity in
                                                                                      Many participants described using products alone for intro-
the future, and fears for computer hacking. The majority of partic-
                                                                                   spective and psychonautic purposes. Mixed perspectives around
ipants reported intentions to continue using the site in the future,
                                                                                   potential harm were recorded.
with several intending to set up vendor accounts.
                                                                                       ‘Solitary use may be good in that there is less ‘egging on’ and
   ‘The browser is not key, the Bit Coin currency is, since that allows
                                                                                       escalation of dose’. (Participant 16, Female aged 41–45 years).
   global transactions that are very hard to trace, leaving little or
   no money trail from buyer to vendor’. (Participant 1, Male aged
   26–30 years).                                                                      Dosing of drugs purchased on ‘Silk Road’ appeared gauged by
                                                                                   the user based on past experiences, ‘Silk Road’ product reviews, ‘trip
                                                                                   reports’ and reviews on ‘Erowid’, ‘Wikipedia’, ‘Bluelight’, ‘Drugs.com’
                                                                                   and ‘Google Search’ for that product or its nearest analogue. Several
                                                                                   participants described using a similar approach to that of Alexander
The Silk Road online community
                                                                                   and Ann Shulgin (1991:1997).
    Observational data revealed an active online forum community.
The usefulness of ‘Silk Road’ forums was emphasised in provid-                         ‘If I’m ever unsure, I will take a very low amount (smaller than
ing information, product and vendor reviews, transaction feedback,                     its nearest analogue) and note how I feel. If I need more next
forums for harm reduction, tutorials, guides, and book/ﬁlm reviews.                    time I take more’. (Participant 1, Male aged 26–30 years).
A participant described the site as a ‘great community with lots of
information’. Comments were made around member education and                          Negative experiences of drugs bought on the site were few, with
know how, with forum participants appearing well read and well                     those participants describing instances where drug potency caused
informed around drug use, with members sharing advice, stories,                    nausea, vomiting and severe intoxication.
experiences and general chit chat. Site forum postings included
member support for those requiring assistance in quitting their                    Discussion
drug habit.
                                                                                       The study presents an integrated visual and narrative analy-
   ‘The community here is awesome. There is a “Drug Safety”                        sis of data garnered from the ‘Silk Road’ website. Given the illicit
   forum. The whole philosophy behind the place is that if you                     nature of online drug trading, the chosen form of observational and
   want to put heroin in your body, go ahead. But hey, if you want                 anonymous online research was deemed most appropriate, as this
   to get off that nasty drug, we’re here to help you too. It’s not                virtual community is essentially a hidden and suspicious research
   like real life where street dealers might coerce you into keeping               population, requiring a sensitive and conﬁdential approach. It took
   your addiction’. (Participant 4, Male aged 20–25 years).                        time to build credibility and trust on the site. Recruitment bias may
                                                                                   exist in the lack of researcher ability to adequately assess whether
   Many comments were made around a perceived sense of                             participants were 18 years or older, and whether participants
belonging in the ‘Silk Road’ community. This occurred irrespective                 were under the inﬂuence of mind altering substances at the time
of whether members were purchasing or only accessing the forums.                   of participation. Despite this, collecting data via live observation
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and inter-personal contact on the online ‘Silk Road’ communi-                    the pharmacology and toxicity of novel psychoactive substances.
ties, forums and message boards, offers a unique snapshot of ‘Silk               Dosing was tentative but informed and gauged on prior drug tak-
Road’ member perspectives relating to drug choices, informed                     ing experiences, reviewing of trip reports of similar analogues, and
decision making processes, group mechanisms and consumer out-                    member forum conversations around optimum use, expected expe-
comes. The interactive nature of the research was deemed a central               riences and settings. Similar observations have been described in
feature to the subsequent thread discussions, with the research                  underground drug cultures (Becker, 1963; Tart, 1971, 1972; Lilly,
team tracking and monitoring the discussion thread postings and                  1972; Zinberg, 1984; Jay, 1999; Miller, 2005). A displacement away
listening to and engaging with the various discussions hosted                    from street drug sourcing and its associated hazards (Christin,
on the ‘Silk Road’ forums. This was done in order to incorpo-                    2012; Van Hout & Bingham, 2013) was observed, with continued
rate variant drug user perspectives and meanings, and maintain                   uptake of traditional closed and street market networks when wait-
the dialogue between participants within an online negotiation                   ing for ‘Silk Road’ package deliveries. For the most part, these shifts
process (Mendelson, 2007). Asynchronous interactions between                     in drug consumerist behaviours appeared centred in ‘Silk Road’s’
participants were observed during the project timeframe, which                   capacity to potentially ensure provision of quality products within
optimized the duration, momentum and depth of conversation                       an anonymous network characterized by insularised trust, buyer
thread discussions, and which added a richer context to online                   protection and vendor loyalties. The ‘Escrow’ system was viewed as
interview data (Smith & Stewart, 2012).                                          enabling purchasers to avoid scamming and feel more secure when
    The conscious decision for users to access Silk Road necessitated            purchasing.
computer access and technical expertise, and was observed to con-                    The study is of interest to a variety of stakeholders, including
tribute to ‘responsible’ drug consumerism (Duncan & Gold, 1982;                  drug policy makers, law enforcement, customs and excise, postal
Parker, Williams & Aldridge, 2002). This coupled with time needed                service providers, scientists and researchers, clinical, health and
to wait for product delivery appears to exclude more vulnerable                  social professionals and those involved in computer security. Risks
groupings of drug users (i.e. homeless, opiate dependents). Of inter-            and harms traditionally posed by illicit open and closed drug mar-
est is that whilst participants appeared to represent themselves as              kets are replaced by insular online communities interacting within
well informed ‘drug connoisseurs’, most commenced online drug                    ‘Silk Road’s’ built in quality of information exchange, anonymity
sourcing with ‘Silk Road’. Members were described as educated                    and community consumer supports. One wonders whether these
and professional, and for the most part conﬁned their drug con-                  technological drug displacement patterns supported by the ‘Deep
sumption to recreational and psychonautic purposes [see Leary,                   Web’ are temporary (Hammersley, 2010), with this study on mem-
Metzner & Alpert, 1964; Shulgin & Shulgin, 1991, 1997; Turner,                   ber experiences indicating the presence of ‘secondary motivating
1994; Newcombe, 2008). The evident ‘responsible’ drug consumer                   factors’ for uptake centred around convenience, choice, quality and
identity as distinct from the member’s professional identity (see                low risk of criminal sanctioning (Measham, Moore, Newcombe &
‘parallel lives’ Moore & Miles, 2004) appeared facilitated by mem-               Welch, 2010). On a positive note, ‘Silk Road’ forums, both for pur-
ber anonymity and an active ‘Silk Road’ community where once                     chasers and those who have not yet purchased, appears to act
entrenched, members protected by screen pseudonyms exchanged                     as information mechanism for the promotion of safer and more
information, product and vendor reviews, test reports and con-                   ‘acceptable or responsible’ forms of recreational drug use. Whilst
versed freely around their drug use. Prior investigations have                   appearing to consist of well informed weekend, recreational and
emphasised that members are not required to assume a drug user                   ‘psychonautic’ drug consumers, the ‘Silk Road’ medium has the
identity in order to communicate about their drug use (Barratt,                  potential to radically normalise drug sourcing within its member
2012). Indeed, online forums can create new pseudo individual                    community. Given the accounts described in this study of user
and group identities by channeling physical and social experi-                   perspectives on the realities of purchasing drugs on ‘Silk Road’,
ences, establishing psychological connections between members                    its member subcultures offer a viable means of enmeshing safer
and offering opportunity for social advancement (Robinson, 2007;                 drug use and encouraging harm reduction amongst a very hard
Fernback, 2007). A collective and innovative ‘Silk Road’ subculture              to reach and informed drug using population (Young, 1971; Dorn
consisting of both purchasers and non-purchasers was described.                  & South, 1990; Stimson, 1995; Caulkins, Rydell, Scwabe & Chiesa,
‘Silk Road’ user groups appeared to exhibit behavioural dynam-                   1997; Parker et al., 2002; United Kingdom Drug Policy Commission,
ics containing ﬁnely spun norms for appropriate and ‘member’                     2009; Caulkins & Reuter, 2009; Greenﬁeld & Paoli, 2012). The rapid
valued forms of drug consumption and harm reduction practices                    growth of online anonymous drug markets, and logistical difﬁcul-
[‘positive propaganda’, Laing, 1965; Young, 1971). In this way, ‘Silk            ties and costs incurred in closing down those located on the ‘Deep
Road’, as novel technological drug subculture, potentially min-                  Web’ highlights the need for shift in focus toward reducing con-
imises perceptions of drug related stigma within a communal sense                sumer demand and potential harms via site based harm reduction
of identiﬁcation and belonging, supported by distance from previ-                tactics (Kerr, Small & Wood, 2005; United Kingdom Drug Policy
ous drug sourcing avenues (Parker et al., 2002; McKeganey, 2010).                Commission, 2009; Bright & Ritter, 2010; Christin, 2012). Equally,
Of interest is that whilst communicating and seeking assurances                  the potential increase in vendor accounts amongst those accessing
around their drug consumption and product choices, members did                   ‘Silk Road’ for personal use, and consequent closed market oper-
not seek out associational relations with ‘Silk Road’ members in real            ation in ‘stealth modes’ is of concern. Further research is needed
life.                                                                            to investigate vendor perspectives on these shifts in online drug
    Whilst their horizon of drug taking appeared expanded due                    market activity.
to the vast array of products available, participants on the whole
remained loyal to traditional street drugs, with customer portfolios
                                                                                 Acknowledgements
including MDMA, ketamine, cannabis, LSD and cocaine. Purchasing
of prescribed medications occurred in preference to online phar-
                                                                                     With thanks to Monica Barrett for advice around research
macies for sourcing of anti anxiety and sexual enhancement drugs,
                                                                                 design, and to the participants in the research without whom it
with online pharmacies viewed as ‘unsafe’. Participants appeared
                                                                                 would not have been possible to garner an understanding into the
well versed in reviewing products, but hesitant to purchase
                                                                                 ‘Silk Road’ phenomenon.
untested novel psychoactive drugs. Similar to extant researcher and
drug policy views at the time (Rosenbaum, Carreiro & Babu, 2012)                 Conﬂict of interest
these participants underscored the need for scientiﬁc research into                None
      Case 1:14-cr-00068-LGS                               Document 242-2                     Filed 05/15/15                   Page 7 of 7

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